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UNITED sTA TES DISTRICT COURT F”*EG W D'C'
WESTERN DISTRICT OF TENNESSEE§ AU@ 25 951 21 |7
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WE 11 `\~ n ;-‘.|;?!.EPI~ELS
CA.RLITO D. ms JUDGMENT IN .A. CIVIL CASE
vs
STEPI'IEN DOTSON CASE NO= 03-2519"13

 

DECISION BY COURT. This action came to consideration before the
Court. The issues have been considered and a decision has been
rendered.

IT IS SO ORDERED AND ADJUDGED that in accordance with the Order
Granting Respondent's Motion To D:Lsmiss entered on August 18, 2005,
this cause is hereby dismissed.

APPRO'VED 2

 

  

 

 

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ESSEE

 

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Honorable Bernice Donald
US DISTRICT COURT

